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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MINNESOTA


 In re:
                                                      Case No.: 21-30037
 Tea Olive I, LLC d/b/a Stock+Field,
                                                      Chapter 11 Case
                  Debtor.


NOTICE OF HEARING AND MOTION FOR AN ORDER (I) GRANTING EXPEDITED
 RELIEF, (II) APPROVING SALE FREE AND CLEAR OF LIENS AND INTERESTS,
  AND (III) APPROVING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN
                        CONTRACTS AND LEASES


TO:       The parties in interest as specified in Local Rule 9013-3(a)(2).

          1.     The above-captioned debtor (the “Debtor”) moves this Court for the relief requested

below and gives notice of hearing.

          2.     The Court will hold a hearing on this Motion at 10:00 a.m. (central time) on

March 15, 2021, in Courtroom 2B, 232 Warren E. Burger Federal Building and U.S. Courthouse,

316 North Robert Street, St. Paul, MN 55101. The hearing will be held telephonically: Dial 1-

888-684-8852; when prompted, enter ACCESS CODE: 5988550; when prompted, enter

SECURITY CODE: 0428.

          3.     Any response to the Debtor’s request to approve the assumption and assignment of

contracts and leases must be filed and served not later than March 10, 2021, which is five days

before the time set for hearing (including Saturdays, Sundays and holidays).           UNLESS A

RESPONSE OPPOSING THAT RELIEF IS TIMELY FILED, THE COURT MAY GRANT THE

RELIEF REQUESTED WITHOUT A HEARING.

          4.     Because the Debtor is requesting that the approval of the sale free and clear be

granted on an expedited basis, Local Rule 9006-1(e) provides that written responses to that portion
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of the Motion must be filed not later than two hours prior to the hearing. UNLESS A

RESPONSE OPPOSING THAT RELIEF IS TIMELY FILED, THE COURT MAY GRANT THE

RELIEF REQUESTED WITHOUT A HEARING.

       5.        This Court has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334,

Bankruptcy Rule 5005, and Local Rules 1070-1 and 1073-1. This is a core proceeding. The

petition commencing this chapter 11 case was filed on January 10, 2021 (the “Filing Date”). The

case is now pending in this Court.

       6.        The relief sought in this Motion is based upon 11 U.S.C. §§ 105(a), 363, 365 and

541 and Bankruptcy Rules 2002(a)(2), 6004, and 6006. The Debtor is currently conducting going

out of business sales (“GOB Sales”) at all of its retail locations pursuant to a court-approved

Consulting Agreement with Tiger Capital Group, LLC and B. Riley Retail Solutions, LLC

(collectively, the “Liquidation Consultant”).       The Debtor proposes to sell substantially all

remaining assets of the Debtor used in its retail operations such as remaining furniture, fixtures,

equipment, remaining inventory, and intangibles, but excluding causes of action, and to assume

and assign related unexpired leases and executory contracts to R.P. Acquisition Corporation

(“Purchaser”).

                                          BACKGROUND

       7.        On the Filing Date, the Debtor filed a voluntary petition for relief under chapter 11

of title 11 of the United States Code (the “Bankruptcy Code”). The Debtor has continued in

possession of its respective assets and the management of its business as a debtor-in-possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

       8.        Further general background information about the Debtor and this case is set forth

in the Declaration of Matthew Whebbe in Support of Chapter 11 Petition and Initial Motions [Dkt.




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No. 22] and the Declaration of James H. Cullen [Dkt. No. 20]. The additional facts relevant to this

Motion set forth below are verified by Matthew Whebbe, as evidenced by the attached verification,

and supported by the Supplemental Declaration of James H. Cullen, filed contemporaneously with

the Motion.

       9.      The Debtor is a Minnesota limited liability company formed in 2018 and

headquartered in St. Paul, Minnesota. It is a farm, home, and outdoor retailer, currently operating

25 stores across Illinois, Indiana, Ohio, Wisconsin, and Michigan.         The Debtor’s primary

merchandise categories include: pet and animal supplies; sporting goods; farm and agricultural

products; lawn, garden, and patio products; apparel; firearms and ammunition; home, toys, and

seasonal products; consumables; tools, hardware, and paint; plumbing, electrical, and HVAC;

footwear; and automotive products.

       10.     The Debtor’s predecessor was originally founded in 1964 under the name “Big R

Stores” by Bill and Pat Crabtree. The first store was located in Watseka, Illinois, but eventually

stores opened in Illinois, Indiana, Ohio, Wisconsin, and Michigan. On August 17, 2018, the

Debtor purchased the “BigR Stores” business. After the acquisition in 2018, the Debtor made

significant upgrades to the management team, moved the corporate office to Minnesota, improved

operations and strategy initiatives, and changed its name from “Big R Stores” to “Stock+Field.”

       11.     In the beginning of 2020, the Debtor continued its rebranding efforts and expected

the business to grow throughout the year. However, the Covid-19 pandemic unexpectedly changed

all expectations for 2020. All of the Debtor’s 25 stores were either closed entirely or, at a

minimum, under strict capacity and operating hour restrictions due to the pandemic. Additionally,

the pandemic itself has altered the shopping behaviors of the Debtor’s consumers, with some

customers not feeling comfortable entering physical stores to shop.




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       12.     In this challenging environment, the Debtor commenced this case and immediately

obtained approval to conduct “store closing” sales on an accelerated basis.

       13.     To date, the GOB Sales have outpaced initial projections with respect to timing and

percent recovery. The GOB Sales are currently projected to end on or before March 31, 2021, and

in no event are they anticipated to go into April 2021. As a result, the Debtor’s cash collateral

budget only anticipates the payment of most operational expenses incurred through the end of

March, with significantly decreased employee and occupancy expenses starting in April. It will

become increasingly difficult to retain employees and continuity of operations that are necessary

to attract a “going concern” sale. Any sale of the Debtor’s remaining assets must align with this

timeframe. In addition, the Purchaser has indicated that it is necessary to obtain approvals of the

proposed transactions as soon as possible, or Purchaser will likely not proceed with the

transactions. The reasons for this are that Purchaser intends to operate Debtor’s retail stores and

related assets and intends to hire a substantial number or all of Debtor’s 900 employees. Purchaser

will need to place orders with its vendors for new merchandise to restock the stores as soon as

possible. Therefore, Purchaser is only interested in this transaction if expedited approvals are

obtained. Therefore, Debtor is seeking expedited relief with respect to the approval of the APA

(defined below) to facilitate a sale within this timeframe.

I.     DEBTOR’S MARKETING EFFORTS.

       14.     Prior to the Filing Date, the Debtor engaged Steeplechase Advisors, LLC

(“Steeplechase”) to provide investment banking and financial advisory services, including the

marketing of the Debtor’s business and assets. Upon its retention, Steeplechase immediately began

extensive marketing and due diligence efforts on the assets and operations and began to solicit




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interest in a sale of all or a portion of the Debtor’s business and assets and also solicited

replacement senior financing to refinance its obligations to the Prepetition Lenders.

       15.     With respect to the going-concern asset sale solicitation process, Steeplechase

identified fifty-two (52) financial sponsor targets and seventeen (17) strategic buyer targets.

Steeplechase prepared and sent a “teaser” to sixty-two targets. Twenty-two of those targets

executed non-disclosure agreements and received a Confidential Information Memorandum and

access to a data room. Only one target provided a term sheet, which required a substantial equity

or subordinated debt infusion from another party to meet working capital needs. After negotiations

and due diligence, and with no interested parties willing to provide subordinated working capital,

the parties could not reach agreement on acceptable terms.

       16.     In connection with these efforts, Steeplechase also ran a parallel path solicitation

process for liquidation bids, structured either as an equity bid or fee-based bid. Steeplechase sent

a teaser to five (5) asset monetization firms, all of which executed non-disclosure agreements and

received access to the data room. The Debtor received and evaluated several proposals, including

a proposal from the Liquidation Consultant, which it ultimately selected to conduct an orderly

liquidation during this case.

       17.     Since the Filing Date, the Debtor and Steeplechase have had ongoing negotiations

with three parties regarding a potential transaction. Those parties were given access to due

diligence materials and were provided with a template term sheet. Given the practical requirement

that any going concern sale must dovetail with the store closing sales, the Debtor communicated

to the interested parties that term sheets were due by February 12, 2021.

       18.     The Debtor and Steeplechase had significant and high-level discussions with all

three interested parties, but only one party, the Purchaser, submitted a bid. The other parties have




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 not responded to further inquiries and Steeplechase has concluded that they are not interested in

 consummating a transaction. Steeplechase has concluded that the APA, as described below,

 provides the best opportunity for the Debtor to obtain value from the assets that will remain after

 the conclusion of the GOB Sales. In addition, the assumption and assignment of a substantial

 number of Debtor’s real estate leases will relieve the estate of substantial lease rejection damage

 claims. Finally, the sale transaction is beneficial to Debtor’s employees, most of whom are

 expected to be afforded job opportunities with the Purchaser.

II.      THE ASSET PURCHASE AGREEMENT.

          19.   The Debtor’s extensive negotiations with the Purchaser have resulted in a term

 sheet, and the parties are negotiating an Asset Purchase Agreement (the “APA”), which will be

 filed as soon as possible. The current version of the APA contemplates that the Purchaser will

 purchase certain assets (the “Acquired Assets”) and may assume certain contracts and leases. The

 principal terms are summarized below, which are subject to continued negotiation. In the case of

 any inconsistency, the terms of the APA will control over the summary below.

           Cash Consideration      $1,750,000
           Acquired Assets         All assets remaining at the end of the store closing sales,
                                   including FF&E at corporate level and store level for acquired
                                   locations, remaining inventory, customer lists, and books and
                                   records
           Excluded Assets         Specified assets, including cash and cash equivalents,
                                   receivables and rights to payment (including credit card
                                   receivables), deposits, refunds, contract rights for contracts not
                                   assumed, and causes of action, including any avoidance actions
                                   of the bankruptcy estate
           Contracts and Leases    Assignment of designated contracts and leases, with the Debtor
                                   proposing that cure costs are to be paid by Purchaser; contracts
                                   and leases to be designated by March 7, 2021
           Contingencies           No financing contingency
                                   Purchaser may terminate APA by March 7, 2021 if certain
                                   modifications to lease terms are not accepted by counterparties
           Closing                 To coincide with the end of the store closing sales, to be no
                                   later than March 31, 2021


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       20.     In negotiations, the Purchaser has emphasized its need to obtain Court approval of

the transaction as quickly as possible to allow it sufficient time to order new product, communicate

with and make offers to existing employees (who may be looking for new employment already),

and otherwise arrange an orderly transition of operations at the stores following the conclusion of

the GOB Sales. Given these challenges, and to maintain going concern value, it is imperative that

the Debtor be authorized to complete the transaction contemporaneous with the conclusion of the

GOB Sales.

       21.     There is no question that the proposed transaction is in the best interests of the

estate, the Debtor’s creditors, landlords and employees. Not only does it monetize substantially all

of the Debtor’s assets that will remain after the conclusion of the GOB Sales, but it also ensures a

viable operation to continue employment for the majority its employees, selling opportunities for

the Debtor’s vendors, and provide a paying tenant for the Debtor’s landlords.

       22.     The Purchaser is not an insider or affiliate of the Debtor and has no connections to

the Debtor other than that it is negotiations with certain landlords of the Debtor, which are under

common ownership with the Debtor, regarding potential modifications to such leases. The

Purchaser has acted in good faith in connection with the sale.

       23.     According to the Purchaser’s representations in connection with the parties’ term

sheet, the Purchaser is a family-owned, multi-generation owner and operator of, among other

businesses, over 70 retail locations across four states. The Purchaser has represented that core to

its business culture and ethics is its committed focus to providing quality service and products,

generating economic vitality, and creating good jobs in small and medium sized communities

throughout the Midwest. The Purchaser has represented that it intends to operate the acquired




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  locations in a manner that will maintain and create substantial employment and generate significant

  local tax revenue consistent with its long history of operations in dozens of peer communities. The

  Purchaser has represented that it has sufficient financial wherewithal to close the transaction as

  well as invest the significant additional resources necessary to ensure the restart of operations and

  future success of the acquired locations. The Purchaser has represented that it intends to cause as

  little disruption as possible to interested parties and has been and will work with vendor partners,

  landlords, employees, communities, and other impacted parties to ensure a smooth transition and

  the continuation of retail business activity at each of the acquired locations.

III.    SALE “FREE AND CLEAR”.

         24.     The sale of the Debtor’s assets is proposed to be a sale free and clear of all liens,

  claims, interests and encumbrances pursuant to 11 U.S.C. § 363(f). The following summarizes the

  nature, extent and amount of the currently known liens, claims, interests and encumbrances.

         25.     As described more fully in the Debtor’s Motion for Order (I) Granting Expedited

  Relief and (II) Authorizing the Use of Cash Collateral on an Interim and Final Basis [Dkt No. 9]

  (the “Cash Collateral Motion”), the Debtor has outstanding secured debt to the Prepetition Lenders

  under the Credit Documents, both as defined in the Cash Collateral Motion. The Debtor’s

  Prepetition Credit Obligation is secured by security interests in and liens on substantially all of its

  personal property, including all of the Acquired Assets. As of February 20, 2021, the outstanding

  amount of the Debtor’s Prepetition Credit Obligation to the Prepetition Lenders totaled

  approximately $18,298,302. The Debtor projects that at the conclusion of the liquidation sales,

  the Prepetiton Lenders will be owed about $6 million if all of the assets that are part of the GOB

  Sales area sold in the manner contemplated by the existing Consulting Agreement. The Debtor

  believes the transaction with the Purchaser will result in the Prepetition Lenders being owed less




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than that amount as a result of the transaction closing, in part because the Debtor forecasts certain

contingent budget-related expense savings if the sale to the Purchaser is consummated. The Debtor

has requested that the Prepetition Lenders consent to the relief requested; as of this date the

Prepetition Lenders have not provided their consent.

        26.     Worldwide Distributors filed an original financing statement, file no.

1133295000027, with the Office of the Minnesota Secretary of State asserting (i) a purchase

money security interest in all inventory and equipment financed by Worldwide Distributors and

sold or distributed to the Debtor, and (ii) a security interest in substantially all assets of the Debtor.

Worldwide Distributors’ interest in the Debtor’s personal property, including the Acquired Asset,

is subject to numerous disputes, including the validity and priority of Worldwide Distributors

security interest and the amount owed. Further, the Debtor is segregating $3.5 million of proceeds

from the sale of its inventory to provide adequate protection to Worldwide Distributors. See Final

Order Authorizing Use of Cash Collateral [Dkt. No. 144], ¶ 28. The Debtor has requested that

Worldwide Distributors consent to the relief requested; as of this date the Worldwide Distributors

has not provided its consent.

        27.     STIHL Incorporated (“STIHL”) filed an original financing statement, file no.

1143474000030, with the Office of the Minnesota Secretary of State asserting a purchase money

security interest in all products sold by STIHL to the Debtor. The amounts owed by the Debtor

to STIHL have been satisfied in full.

        28.     Blackwood Pet Food, LLC (“Blackwood”) filed an original financing statement,

file no. 1194888400026, with the Office of the Minnesota Secretary of State asserting a security

interest in all inventory purchased by the Debtor from Blackwood. The Debtor has no record of

having granted a security interest to Blackwood. Further, the Debtor’s accounts payable show no




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amount owed to Blackwood. The Debtor has purchased products from and owes an account

payable to Brightpet Nutrition Group, LLC, which, upon information and belief, appears to be an

affiliated, but legally separate entity. As a result, the Debtor disputes that Blackwood has an

interest in any of the Acquired Assets.

       29.     Crown Equipment Corporation filed an original financing statement, file no.

1087376300603, with the Office of the Minnesota Secretary of State asserting a security interest

in all equipment leased by Crown Equipment Corporation to the Debtor. The equipment leased

by Crown Equipment Corporation to the Debtor is not included in the proposed sale. Instead,

those leases are currently identified as unexpired leases that may be designated for assumption and

assignment.

       30.     Wells Fargo Bank, N.A. filed an original financing statement, file no.

1165744200602, with the Office of the Minnesota Secretary of State asserting a security interest

in a forklift owned by the Debtor, model no. C5 S/N 9A215602. The forklift in which Wells Fargo

Bank, N.A. asserts a security interest is not included in the proposed sale.

       31.     The Debtor requests that the order approving the sale of the Acquired Assets

provide that such sale is free and clear of all liens, claims, and encumbrances in accordance with

section 363(f) of the Bankruptcy Code.

       32.     In addition, the Debtor requests that an order approving the sale to the Purchaser

include the protections provided in section 363(m) and 363(n) of the Bankruptcy Code. The

Purchaser does not have an interest clearly adverse to the Debtor, its estate, or its creditors. The

Purchaser is not an “insider” of the Debtor, as that term is defined in section 101(31) of the

Bankruptcy Code. Further, the APA is a product of arm’s-length, good-faith negotiations, and




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 thus the granting of the requested sections 363(m) and 363(n) protections is appropriate under the

 circumstances.

IV.     ASSUMPTION AND ASSIGNMENT.

         33.      In connection with the proposed sale, the Debtor proposes to assume and assign

 certain executory contracts and unexpired leases to be identified on a schedule to the APA. The

 Purchaser has until March 7, 2021 to complete and/or modify such schedule.

         34.      Attached as Exhibit 1 is a list that (i) identifies the executory contracts or unexpired

 leases (the “Proposed Assumed Contracts”) that may be assumed and (ii) lists the Debtor’s good

 faith calculation of the cure costs associated with each contract or lease (the “Cure Costs”).

V.      APPROVAL OF TRANSITION SERVICES AGREEMENT.

         35.      The proposed transaction contemplates a transition services agreement whereby the

 Debtor will retain access to employees and records necessary to wind down the estate and the

 Debtor will provide to the Purchaser the ability to operate under licenses held by the Debtor on

 terms that are to be negotiated before the Sale Approval Hearing.

VI.     SALE OF CUSTOMER LIST AND AGPLUS LIST.

         36.      The Debtor permits its customers to sign up for the Debtor’s e-mail list and also

 allows its customers to create online accounts. The Debtor maintains a list of these customers and

 their e-mail addresses (the “Customer List”), which the Debtor uses to send promotions, special

 giveaways, contests, and other content relating to the Debtor’s products.

         37.      As more fully described in the Notice of Hearing and Motion for Entry of an Order

 (I) Granting Expedited Relief and (II) Authorizing the Debtor to Honor and Continue Certain

 Customer Programs and Customer Obligations in the Ordinary Course of Business [Docket No.

 12], the Debtor also operates a rebate program called AgPlus. The Debtor maintains a list of its




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  AgPlus members and their contact information for the purpose of providing the rebates each year

  (the “AgPlus List”).

           38.    The Customer List and the AgPlus List are included in the Acquired Assets. As the

  Customer List and AgPlus List may be considered “personally identifiable information” of the

  Debtor under section 101(41A), the Debtor seeks approval of the sale under section 363(b)(1)(B)

  of the Bankruptcy Code.

           39.    The Debtor filed a Motion for Order (I) Granting Expedited Relief and (II)

  Directing the United States Trustee to Appoint a Consumer Privacy Ombudsman Immediately

  Pursuant to Section 322(A) of the Bankruptcy Code [Dkt. No. 170], seeking the appointment of a

  consumer privacy ombudsman (an “Ombudsman”) under section 322(a) of the Bankruptcy Code

  (the “Ombudsman Motion”).

           40.    Assuming that the Court appoints an Ombudsman, the Debtor requests approval of

  the sale of the Customer List and the AgPlus List under section 363(b)(1)(B) of the Bankruptcy

  Code.

VII.      NOTICE.

           41.    The Debtor is providing notice of the sale by sending the Sale Notice by first-class

  mail to all parties in interest.

           42.    The Debtor is also posting the Sale Notice on the website of the Debtor’s noticing

  agent, Donlin Recano (the “Case Information Website”).

VIII.     REQUEST FOR EXPEDITED RELIEF.

           43.    The Debtor requests expedited relief to allow the Debtor to accomplish the sale

  within the practical constraints of this case. As described above, the Purchaser needs as much lead

  time as possible to retain employees, order new inventory and maintain continuity.




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IX.     REQUEST FOR RELIEF UNDER BANKRUPTCY RULES 6004(h) AND 6006(d).

         44.     Bankruptcy Rules 6004(h) and 6006(d) provide, in substance, that an order

 authorizing the sale of a debtor’s property or assumption/rejection of a lease or contract is stayed

 for a period of 14 days after entry of the order unless the court orders otherwise. The Debtor

 requests that any order approving the relief requested herein be effective immediately, by

 providing that the 14-day stay is inapplicable. There is no just reason for delaying the effectiveness

 of the order.

         45.     Pursuant to Local Rule 9013-2(c), the Debtor gives notice that it may, if necessary,

 call one or more of the following to testify regarding the facts set forth in this Motion: a) Matthew

 Whebbe, the Chief Executive Officer of the Debtor, whose business address is 2600 Eagan Woods

 Drive, Suite 120, Eagan, MN 55121, (b) Michael Wesley, a Partner at Clear Thinking Group, the

 Chief Restructuring Officer and Financial Advisor to the Debtor, whose business address is 401

 Towne Centre Drive, Hillsborough, NJ 08844, and (c) James H. Cullen, the managing partner of

 Steeplechase Advisors, LLC, whose business address is 601 Carlson Parkway, Suite 1050,

 Minnetonka, MN 55305.

         WHEREFORE, the Debtor respectfully requests that the Court enter a Sale Approval

 Order, substantially in the form of the attached proposed order:

      A. Granting expedited relief;

      B. Authorizing the Debtor to sell the Acquired Assets free and clear of all liens, claims,

         interests, and encumbrances, which will attach to the proceeds of sale;

      C. Authorizing the Debtor to assume and assign in connection with above-described sale the

         Proposed Assumed Contracts, free and clear of all liens, claims, interests, and

         encumbrances, which will attach to the proceeds of sale; and




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   D. Granting such other and further relief as the Court may deem just and equitable.

Dated: February 26, 2021                     /e/ Clinton E. Cutler
                                             Clinton E. Cutler (#0158094)
                                             Steven R. Kinsella (#0392289)
                                             James C. Brand (#387362)
                                             Samuel M. Andre (#0399669)
                                             FREDRIKSON & BYRON, P.A.
                                             200 South Sixth Street, Suite 4000
                                             Minneapolis, MN 55402-1425
                                             612.492.7000
                                             ccutler@fredlaw.com
                                             skinsella@fredlaw.com
                                             jbrand@fredlaw.com
                                             sandre@fredlaw.com

                                             ATTORNEYS FOR DEBTOR




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                                      VERIFICATION

       I, Matthew Whebbe, the CEO of the Debtor, declare under penalty of perjury that the facts

set forth in the preceding motion are true and correct according to the best of my knowledge,

information, and belief.

Dated: February 26, 2021                           _____________________________
                                                   Matthew Whebbe
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                                 EXHIBIT 1
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The inclusion of any lease, contract, or other agreement on this list does not constitute an admission that a particular lease, contract, or other agreement is an executory contract or
unexpired lease within the meaning of 11 U.S.C. § 365, or require or guarantee that such lease, contract, or other agreement will be assumed and assigned, and all rights of the
Debtor with respect thereto are reserved. The Debtor has generally not included amendments, statements of work, revisions, addendums, or other ancillary documents in the list
below, as the Debtor views such ancillary documents as a part of and encompassed by the main lease, contract, or other agreements listed.


COUNTERPARTY                               ADDRESS                                TITLE OR DESCRIPTION OF CONTRACT / LEASE / AGREEMENT                                CURE AMOUNT
                                           970 Windham Court Suite 7              Lima Store Lease                                                                              $29,948.75
Clocktower Plaza, LLC                      Boardman, OH 44513
                                                                                  Lease: Make: ENER, Model: 12-85G-7, Type: Battery, Serial #: MPA1227340

                                                                                  Lease: Make: ENER, Model: 12-E140-15, Type: Battery, Serial #: RNC848645
                                                                                  Lease: Make: ENER, Model: 18-125P-13, Type: Battery, Serial #:
                                                                                  MNF1205664
                                                                                  Lease: Make: DEKA, Model: 18-D125-13, Type: Battery, Serial #: 6043GE
                                                                                  Lease: Make: DEKA, Model: 18-D125-13, Type: Battery, Serial #: 3863CG
                                                                                  Lease: Make: DEKA, Model: 18-D85-17, Type: Battery, Serial #: 5503DE
                                                                                  Lease: Make: DEKA, Model: 18-H120-13, Type: Battery, Serial #: 0331DC
                                                                                  Lease: Make: DEKA, Model: 18-H120-13, Type: Battery, Serial #: 0344DC
                                                                                  Lease: Make: DEKA, Model: 18-P140-15, Type: Battery, Serial #: 0387AD
                                                                                  Lease: Make: AES, Model: 18Y-865X3, Type: Charger, Serial #: 07L42143
                                                                                  Lease: Make: AMTK, Model: 750H3-18C, Type: Charger, Serial #:
                                                                                  406CS45504
                                                                                  Lease: Make: GNB, Model: FLX20018750T1H, Type: Charger, Serial #:
                                                                                  10F3368M
                                                                                  Lease: Make: CRW, Model: FS3-MP324-2, Type: Charger, Serial #: 3E734027
                                                                                  Lease: Make: CRW, Model: FS3-MP344-1, Type: Charger, Serial #:
                                                                                  3M19090491
                                                                                  Lease: Make: ACT, Model: P36750R25SB, Type: Charger, Serial #:
                                                                                  37120046IB
                                                                                  Lease: Make: GNB, Model: SCR20012965T1H, Type: Charger, Serial #:
                                                                                  07J8158M
                                                                                  Lease: Make: CRW, Model: SC5225-30, Type: Sit Down Forklift - Electric,
                                                                                  Serial #: 9A189296
                                                                                  Lease: Make: CRW, Model: C51000-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 10041960
                                           P.O. Box 640352                        Lease: Make: CRW, Model: C51000-50, Type: Sit Down Forklift - LP unit,                        $68,466.97
Crown Credit Company
                                           Cincinnati, OH 45264                   Serial #: 10045103                                                                     (note, debtor is in
                                                                                  Lease: Make: CRW, Model: C51000-50, Type: Sit Down Forklift - LP unit,                         process of
                                                                                  Serial #: 10069117                                                                         allocating this
                                                                                  Lease: Make: CRW, Model: C51000-50, Type: Sit Down Forklift - LP unit,                    combined cure
                                                                                  Serial #: 10054470                                                                             amount to
                                                                                  Lease: Make: CRW, Model: C51000-50, Type: Sit Down Forklift - LP unit,                 applicable leases)
                                                                                  Serial #: 10044879
                                                                                  Lease: Make: CRW, Model: C51000-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 10053221
                                                                                  Lease: Make: CRW, Model: C51000-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 10034568
                                                                                  Lease: Make: CRW, Model: C51000-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 10059685
                                                                                  Lease: Make: CRW, Model: C51000-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 10034564
                                                                                  Lease: Make: CRW, Model: C51000-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 9A232494
                                                                                  Lease: Make: CRW, Model: C51000-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 9A217224
                                                                                  Lease: Make: CRW, Model: C51000-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 10028699
                                                                                  Lease: Make: CRW, Model: C51000-60, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 9A193839
                                                                                  Lease: Make: CRW, Model: C51050-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 10023140
                                                                                  Lease: Make: CRW, Model: C51050-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 9A230745
                                                                                  Lease: Make: CRW, Model: C51050-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 10147217
                                                                                  Lease: Make: CRW, Model: C51050-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 9A226873
                                                                                  Lease: Make: CRW, Model: C51050-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 9A207939
                                                                                  Lease: Make: CRW, Model: C51050-50, Type: Sit Down Forklift - LP unit,
                                                                                  Serial #: 9A203960
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COUNTERPARTY                            ADDRESS                            TITLE OR DESCRIPTION OF CONTRACT / LEASE / AGREEMENT                        CURE AMOUNT
(Continued)
                                                                           Lease: Make: CRW, Model: C51050-50, Type: Sit Down Forklift - LP unit,
                                        P.O. Box 640352
                                                                           Serial #: 10147224
Crown Credit Company                    Cincinnati, OH 45264
                                                                           Lease: Make: CRW, Model: C51050-50, Type: Sit Down Forklift - LP unit,
                                                                           Serial #: 10021052
                                                                           Lease: Make: CRW, Model: C51050-50, Type: Sit Down Forklift - LP unit,
                                                                           Serial #: 10023710
                                                                           Lease: Make: CRW, Model: RM6025-45, Type: Stand-up Reach truck, Serial #:
                                                                           1A421554
                                                                           Lease: Make: CRW, Model: RR5715-35, Type: Stand-up Reach truck, Serial #:
                                                                           1A375578
                                                                           Lease: Make: CRW, Model: RR5725-35, Type: Stand-up Reach truck, Serial #:
                                                                           1A448399
                                                                           Lease: Make: CRW, Model: RR5725-45, Type: Stand-up Reach truck, Serial #:
                                                                           1A372937
                                                                           Lease: Make: CRW, Model: RR5725-45, Type: Stand-up Reach truck, Serial #:
                                                                           1A376854
                                                                           Lease: Make: CRW, Model: RR5725-45, Type: Stand-up Reach truck, Serial #:
                                                                           1A399996
                                                                           Lease: Make: CRW, Model: RR5725-45, Type: Stand-up Reach truck, Serial #:
                                                                           1A428572
                                                                           Lease: Make: CRW, Model: RR5725-45, Type: Stand-up Reach truck, Serial #:
                                                                           1A353398
                                                                           Lease: Make: CRW, Model: SX3000-30, Type: Walkie stacker, Serial #:
                                                                           5A551256
                                                                           Lease: Make: CRW, Model: WAV60-118, Type: Work Assist Vehicle
                                                                           (WAVE), Serial #: 10041966
                                                                           Lease: Make: CRW, Model: WAV60-118, Type: Work Assist Vehicle
                                                                           (WAVE), Serial #: 10035016
                                                                           Lease: Make: CRW, Model: WAV60-118, Type: Work Assist Vehicle
                                                                           (WAVE), Serial #: 10034569
                                                                           Lease: Make: CRW, Model: WAV60-118, Type: Work Assist Vehicle
                                                                           (WAVE), Serial #: 10151796
                                                                           Lease: Make: CRW, Model: WAV60-118, Type: Work Assist Vehicle
                                                                           (WAVE), Serial #: 10034560
                                                                           Lease: Make: CRW, Model: WAV60-118, Type: Work Assist Vehicle
                                                                           (WAVE), Serial #: 10035013
                                                                           Lease: Make: CRW, Model: WAV60-118, Type: Work Assist Vehicle
                                                                           (WAVE), Serial #: 10035012
                                                                           Lease: Make: CRW, Model: WAV60-118, Type: Work Assist Vehicle
                                                                           (WAVE), Serial #: 10147227
                                        1010 Northern Blvd, Suite 212
                                                                           Findlay Store Lease                                                              $30,472.58
Findlay Mall Capital Holding            Great Neck, NY 11021
                                        1620 Dodge Street
                                                                                                                                                                 $0.00
First National Bank of Omaha            Omaha, NE 68197                    Contract - Joint Marketing Agreement of Co-Branded Credit Card
                                        555 E. South Frontage Rd
                                                                                                                                                            $73,975.00
Fleet Equipment                         Bolingbrook, IL 60440              Fleet Equipment Trailer Leases
                                        138 Buntrock Ave
                                                                                                                                                            $20,000.00
Fox River Plaza, LLC                    Thiensville, WI 53092              Burlington Store Lease
                                        Western Union Telegraph Building
                                        195 Broadway                                                                                                             $0.00
Getty Images                            New York, NY 10007                 Getty Images Marketing
                                        P.O. Box 677458
                                                                                                                                                             $9,923.15
Guardian Life                           Dallas, TX 75267                   Benefits Contract
                                        25551 Network Place
                                                                                                                                                           $370,746.84
Health Care Service Corporation         Chicago, IL 60673                  Benefits Contract
                                        400 White Clay Center Dr.
                                        Lock Box 7491                                                                                                       $15,812.50
Home Depot USA, Inc                     Neward, DE 19711                   Marion Store Lease
                                        P.O. Box 939
                                                                                                                                                              $532.25
HSA Bank                                Sheboygan, WI 53082                Benefits Contract
                                        P.O. Box 158                       Distribution Center -53 Store Lease
Illiana Realty, LLC                                                                                                                                          $2,000.00
                                        Watseka, IL 60970                  McHenry Store Lease
                                        P.O. Box 461
Joda Crabtree                           Watseka, IL 60970                  Distribution Center -51 Store Lease                                               $4,000.00
                                        2600 Eagan Woods Dr
Juniper I, LLC                          Eagan, MN 55121                    Portage Store Lease                                                             $274,207.35
                                        2600 Eagan Woods Dr
Juniper II, LLC                         Eagan, MN 55121                    Lansing Store Lease                                                             $490,090.75
                                        P.O. Box 0821
Lincoln Financial Group                 Carol Stream, Il 60132             Benefits Contract                                                                 $8,888.51
                                        Attn: Craig Vosburg, President,
                                        North Am
                                        20000 Purchase Street
Mastercard International Incorporated   Purchase, NY 10577                 Contract - Co-Branded Credit Card Provider                                            $0.00
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                                        Keith Weinstein
                                        20 North Point Drive
Northpoint Development Holdings LLC     Streator, Il 61364               Streator Store Lease                                        $14,089.00
                                        Bank of America Lockbox Serv
                                        500 Oracel Parkway
Oracle+Netsuite                         Redwood Shores, CA 94065         Bronto Email Services                                            $0.00
                                        275 E. Court Street, Suite 201
People's ETC                            Kankakee, IL 60901               Contract - Payroll service provider                              $0.00
                                        2600 Eagan Woods Dr
Pink Dogwood                            Eagan, MN 55121                  Distribution Center -52 Store Lease                              $0.00
                                        415 Mission Street
Salesforce.com Inc                      San Francisco, CA 94105          Website Service Contract                                    $55,560.00
                                        P.O. Box 776148
Seritage SRC Finance LLC                Chicago, Il 60677                North Elkhart Store Lease                                   $28,292.18
                                                                         Store Capital Master Lease #1
Store Capital                           8377 E. Hartford Dr.             Store Capital Master Lease #2                             $1,102,517.00
                                        Scottsdale, AZ 85255             Store Capital Master Lease #3
                                        P.O. Box 742135
VPS Service Plan                        Los Angeles, CA 90074            Benefits Contract                                            $7,963.53

                           72262492.1
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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF MINNESOTA


 In re:
                                                      Case No.: 21-30037
 Tea Olive I, LLC d/b/a Stock+Field,
                                                      Chapter 11 Case
                  Debtor.


   MEMORANDUM IN SUPPORT OF MOTION FOR AN ORDER (I) GRANTING
   EXPEDITED RELIEF, (II) APPROVING SALE FREE AND CLEAR AND (III)
 APPROVING THE ASSUMPTION AND ASSIGNMENT OF CERTAIN CONTRACTS
                             AND LEASES


          Tea Olive I, LLC d/b/a Stock+Field, (the “Debtor”) submits this memorandum of law in

support of the motion submitted herewith (the “Motion”) in accordance with Local Rule 9013-

2(a).

                                          BACKGROUND

          The supporting facts are set forth in the verified Motion, the Declaration of Matthew

Whebbe in Support of Chapter 11 Petition and Initial Motions [Dkt. No. 22], the Declaration of

James H. Cullen [Dkt. No. 20] and the Supplemental Declaration of James H. Cullen filed

contemporaneously with the Motion. All capitalized terms used herein and not otherwise defined

shall have the meanings ascribed to them in the Motion.

                                             ANALYSIS

I.        A SALE IS IN THE BEST INTEREST OF THE ESTATE AND ITS CREDITORS

          A.     The APA Is Supported By Sound Business Justifications.

          Section 363(b)(1) of the Bankruptcy Code requires court approval, after notice and hearing,

for sales outside of the ordinary course of business. 11 U.S.C. § 363(b)(1). In interpreting

section 363(b)(1), courts have held that a transaction involving property of the estate generally
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should be approved so long as the debtor can demonstrate “some articulated business justification

for using, selling, or leasing property outside of the ordinary course of business.” In re Continental

Airlines, Inc., 780 F.2d 1223, 1226 (5th Cir. 1986); accord Four B. Corp. v. Food Barn Stores,

Inc. (In re Food Barn Stores, Inc.), 107 F.3d 558, 567 n. 16 (8th Cir. 1997); In re Lionel Corp.,

722 F.2d 1063, 1071 (2d Cir. 1983); In re Crystalin LLC, 293 B.R. 455, 463-64 (B.A.P. 8th Cir.

2003). The court should give deference to a debtor’s application of its sound business judgment

in the use, sale or lease of property. In re Moore, 110 B.R. 924, 928 (Bankr. C.D. Cal. 1990); In

re Canyon Partnership, 55 B.R. 520, 524 (Bankr. S.D. Cal. 1985); In re Curlew Valley Assocs.,

14 B.R. 506, 513-14 (Bankr. D. Utah 1981).

        Many courts have set forth factors to consider when approving a sale outside of the ordinary

course, and most courts start with the factors set forth by the Second Circuit in In re Lionel. Those

factors are:

               the proportionate value of the asset to the estate as a whole, the
               amount of elapsed time since the filing, the likelihood that a plan of
               reorganization will be proposed and confirmed in the near future,
               the effect of the proposed disposition on future plans of
               reorganization, the proceeds to be obtained from the disposition vis-
               a-vis any appraisals of the property, which of the alternatives of use,
               sale or lease the proposal envisions and, most importantly perhaps,
               whether the asset is increasing or decreasing in value.

In re Lionel, 722 F.2d at 1071.

        Other courts have simplified the factors to include, inter alia, the consideration to be paid,

the financial condition and needs of the debtor, the qualifications of the buyer, and whether a risk

exists that the assets proposed to be sold would decline in value if left in the debtor’s possession.

Equity Funding Corp. of America v. Financial Associates (In re Equity Funding Corp.), 492 F.2d

793, 794 (9th Cir. 1974); In re Titusville Country Club, 128 B.R. 396, 399 (Bankr. W.D. Pa. 1991)




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(setting forth four elements of a “sound business purpose” test: (1) a sound business reason, (2)

accurate and reasonable notice, (3) adequate price, and (4) good faith).

       In light of the plain language of 11 U.S.C. § 363(b)(1), which only requires “notice and

hearing” before a sale and does not set out factors to consider, the Second Circuit in Lionel

observed that:

                 A bankruptcy judge must not be shackled with unnecessarily rigid
                 rules when exercising the undoubtedly broad administrative power
                 granted him under the code. As Justice Holmes once said in a
                 different context, ‘Some play must be allowed for the joints of the
                 machine . . .’.

Lionel, 722 F.2d at 1069 (quoting Missouri, Kansas and Texas Ry. Company v. May, 194 U.S. 267

(1904)); see also Wintz v. American Freightways, Inc. (In re Wintz Cos.), 219 F.3d 807, 812 (8th

Cir. 2000) (“[The] bankruptcy courts have wide discretion in structuring sales of assets . . . .”).

       The proposed sale should be approved based on the factors set forth above. The Debtor

has determined, after careful evaluation of its business prospects, that the proposed APA is in the

best interests of the estate. Generally, “the best way to determine the market value of property is

to expose the property to the marketplace.” In re Mama’s Original Foods, Inc., 234 B.R. 500, 504

(Bankr. C.D. Cal. 1999) (citing Bank of America NT & SA v. 203 North LaSalle Street Partnership,

526 U.S. 434, 119 S. Ct. 1411, 1423 (1999)). The Debtor has extensively marketed its assets and

has found no higher or better offer.

       The Debtor has given reasonable notice under the circumstances. In negotiations, the

Purchaser emphasized its need to obtain Court approval of the transaction as quickly as possible

to allow it sufficient time to order new product, communicate with and make offers to existing

employees (who are out looking for new employment already), and otherwise arrange an orderly

transition of operations at the stores. It is imperative that the Debtor complete the transaction




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contemporaneous with the conclusion of the GOB Sales in order to maintain going concern value

and to avoid the accumulation of additional administrative expenses.

       The proposed transactions with the Purchaser provides the best opportunity for the Debtor

to monetize the assets that will remain after the conclusion of the GOB Sales, and may provide the

opportunity for continued employment for many of its employees, additional sale opportunities for

vendors, and go-forward tenant for many of its landlords. The gross cash purchase price is a

reasonable and adequate price for the Acquired Assets.

       Finally, this sale is proposed in good faith. The Acquired Assets have been extensively

marketed, the Purchaser is not an insider, and the APA was negotiated at arms’ length. All aspects

of this transaction have been undertaken in good faith and provide for adequate disclosure to

interested parties. The proposed sale is supported by sound business justifications and should be

approved.

       B.      The Court Should Authorize The Debtor To Assume And Assign Certain
               Unexpired Executory Contracts And Unexpired Leases To The Purchaser.

       Bankruptcy Code section 365(a) provides that “the trustee, subject to the court’s approval,

may assume or reject any executory contract or unexpired lease of the debtor.” 11 U.S.C. § 365(a).

Bankruptcy Code section 365(f)(2) provides the authority for the trustee, or debtor in possession,

to assign executory contracts and leases as follows:

               The trustee may assign any executory contract or unexpired lease of
               the debtor only if –
               (A) the trustee assumes such contract or lease in accordance with
               the provisions of this section; and
               (B) adequate assurance of future performance by the assignee of
               such contract or lease is provided . . . .

11 U.S.C. § 365(f)(2).




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       In considering whether to approve a proposed assumption and assignment of an executory

contract or unexpired lease, the court uses a business judgment test. “Where the trustee’s request

is not manifestly unreasonable or made in bad faith, the court should normally grant approval.”

Four B. Corp v. Food Barn Stores, Inc. (In re Food Barn Stores, Inc.), 107 F.3d 558, 567 n.16 (8th

Cir. 1997) (quoting Richmond Leasing Co. v. Capital Bank N.A., 762 F.2d 1303 (5th Cir. 1985)).

Assumption and assignment of identified contracts and leases is an integral part of the APA.

Having certain executory contracts and unexpired leases available is key to obtaining the highest

and best price for the assets. In addition, pursuant to Bankruptcy Code section 365(k), the estate

will have no liability under the assumed and assigned contracts following the assignment to the

purchaser. The Debtor requests that the Court approve the assumption and assignment of the

executory contracts and unexpired leases that will be assumed as part of the sale.

       Whether there exists “adequate assurance of future performance” as required under

Bankruptcy Code section 365(b)(1)(C) involves a factual inquiry, requiring case-by-case

consideration. Richmond Leasing Co. v. Capital Bank, N.A., 762 F.2d 1303, 1309-10 (5th Cir.

1985). In the event any counterparties challenge the Purchaser’s ability to provide adequate

assurance of future performance, the Purchaser will provide such parties and/or the Bankruptcy

Court with supplemental evidence of its financial ability to perform executory contracts or

unexpired leases to be assumed.

II.    THE DEBTOR CAN SELL THE ASSETS FREE AND CLEAR OF LIENS.

       The Debtor seeks to sell the Acquired Assets free and clear of all liens, claims and interests

of all claimants and lienholders. Section 363(f) of the Bankruptcy Code provides:

               The trustee may sell property under subsection (b) or (c) of this
               section free and clear of any interest in such property of an entity
               other than the estate, only if --




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               (i)     applicable nonbankruptcy law permits sale of such property
                       free and clear of such interest;
               (ii)    such entity consents;
               (iii)   such interest is a lien and the price at which such property is
                       to be sold is greater than the aggregate value of such interest;
               (iv)    such interest is in bona fide dispute; or
               (v)     such entity could be compelled, in a legal or equitable
                       proceeding, to accept a money satisfaction of such interest.

11 U.S.C. § 363(f).

        Any one of the five conditions, including the consent of the lienholders, provides authority

to sell free and clear of liens. Citicorp Homeowners Services, Inc. v. Elliot (In re Elliot), 94 B.R.

343, 345 (E.D. Pa. 1988). To the extent a secured creditor or lienholder that receives notice does

not file a written objection to the Motion, such party should be deemed to have consented to the

sale. In re Shary, 152 B.R. 724, 725-26 (Bankr. N.D. Ohio 1993).

        The Debtor will satisfy section 363(f) by obtaining the consent of secured parties to the

sale of such assets free and clear of all liens, claims and encumbrances, or establishing that any

remaining interests are the subject of a bona fide dispute (such as Worldwide Distributors and

Blackwood).1 If such consent is not obtained, the Debtor requests that the liens, claims and

encumbrances asserted against the affected assets by any creditor be transferred and attached to

the net proceeds from any sale received by the Debtor, subject to the rights, claims, defenses and

objections, if any, of any and all interested parties with respect thereto. The Debtor requests that

the Sale Approval Order provide for the assets to be sold free and clear of all liens, claims and

interests.




1
  As noted in the Motion, the Debtor has requested, but not yet obtained, the consent of the
Prepetition Lenders to the proposed transaction with the Purchaser.


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III.   THE PROPOSED SALE IS IN GOOD FAITH.

       “[W]hen a bankruptcy court authorizes a sale of assets pursuant to section 363(b)(1), it is

required to make a finding with respect to the ‘good faith’ of the purchaser.” In re Abbotts Dairies,

Inc., 788 F.2d 143, 149-50 (3d Cir. 1986). The purpose of such a finding is to facilitate a safe-

harbor determination under section 363(m), which protects purchasers of a debtor’s property when

the purchase is made in “good faith.” 11 U.S.C. § 363(m).

       Section 363(m) provides:

       The reversal or modification on appeal of an authorization under subsection (b) or
       (c) of this section of a sale or lease of property does not affect the validity of a sale
       or lease under such authorization to an entity that purchased or leased such property
       in good faith, whether or not such entity knew of the pendency of the appeal, unless
       such authorization and such sale or lease were stayed pending appeal.

11 U.S.C. § 363(m). This provision serves the important purposes of encouraging good faith

transactions and of preserving the finality of the bankruptcy court’s order unless stayed pending

appeal. Abbotts Dairies, 788 F.2d at 147.

       The Purchaser does not have an interest clearly adverse to the Debtor, its estate, or its

creditors. The APA is a product of arm’s-length, good-faith negotiations. The Debtor requests

that the Sale Approval Order provide the protections of section 363(m) by explicitly finding that

the Purchaser acted in good faith.

IV.    THE SALE OF THE CUSTOMER LIST AND AGPLUS LIST IS AUTHORIZED
       BY THE BANKRUPTCY CODE.

       Under section 363(b)(1) of the Bankruptcy Code, the Debtor may

       use, sell, or lease, other than in the ordinary course of business, property of the
       estate, except that if the debtor in connection with offering a product or a service
       discloses to an individual a policy prohibiting the transfer of personally identifiable
       information about individuals to persons that are not affiliated with the debtor and
       if such policy is in effect on the date of the commencement of the case, then the
       trustee may not sell or lease personally identifiable information to any person
       unless—



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               (A) such sale or such lease is consistent with such policy; or

               (B) after appointment of a consumer privacy ombudsman in accordance
               with section 332, and after notice and a hearing, the court approves such
               sale or such lease—

                       (i) giving due consideration to the facts, circumstances, and
                       conditions of such sale or such lease; and

                       (ii) finding that no showing was made that such sale or such lease
                       would violate applicable nonbankruptcy law.

11 U.S.C. § 363(b)(1).

       Section 101(41A) of the Bankruptcy Code defines “personally identifiable information” to
include:

        (i) the first name (or initial) and last name of such individual, whether given at birth
        or time of adoption, or resulting from a lawful change of name;

        (ii) the geographical address of a physical place of residence of such individual;

        (iii) an electronic address (including an e-mail address) of such individual;

        (iv) a telephone number dedicated to contacting such individual at such physical
        place of residence;

        (v) a social security account number issued to such individual; or

        (vi) the account number of a credit card issued to such individual.

11 U.S.C. § 101(41A).

        The Debtor seeks to sell the Customer List and the AgPlus List, which include customers

names, electronic addresses, and, for the AgPlus List, the geographic address of the AgPlus

members.     Consequently, the Customer List and the AgPlus List likely constitute “personally

identifiable information” under the Bankruptcy Code. As described more fully in the Ombudsman

Motion, the Debtor’s privacy policy appears to restrict the sale of the Customer List and the AgPlus

List.




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        In order to comply with section 363(b)(1) the Debtor filed the Ombudsman Motion and

believes the Court will appoint an Ombudsman. The Debtor will work with the Ombudsman, once

appointed by the Court, to provide the Court with sufficient facts, circumstances, and conditions

of the sale to allow the Court to approve the sale under section 363(b)(1)(B)(i) of the Bankruptcy

Code. The Debtor is unaware of any applicable nonbankruptcy law that would otherwise prohibit

the sale of the Customer List and the AgPlus List under section 363(b)(1)(B)(ii) of the Bankruptcy

Code.

        The Debtor requests that the Court approve the sale of the Customer List and the AgPlus

List under 11 U.S.C. § 363(b)(1).

                                          CONCLUSION

        For all the foregoing reasons, the Debtor respectfully requests that the court grant the relief

requested in the Motion.

Dated: February 26, 2021                        /e/ Clinton E. Cutler
                                                Clinton E. Cutler (#0158094)
                                                Steven R. Kinsella (#0392289)
                                                James C. Brand (#387362)
                                                Samuel M. Andre (#0399669)
                                                FREDRIKSON & BYRON, P.A.
                                                200 South Sixth Street, Suite 4000
                                                Minneapolis, MN 55402-1425
                                                612.492.7000
                                                ccutler@fredlaw.com
                                                skinsella@fredlaw.com
                                                jbrand@fredlaw.com
                                                sandre@fredlaw.com
                                                ATTORNEYS FOR DEBTOR



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                               UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF MINNESOTA


    In re:
                                                         Case No.: 21-30037
    Tea Olive I, LLC d/b/a Stock+Field,
                                                         Chapter 11 Case
                     Debtor.



      ORDER (I) GRANTING EXPEDITED RELIEF, (II) APPROVING SALE FREE AND
        CLEAR, AND (III) APPROVING THE ASSUMPTION AND ASSIGNMENT OF
                 UNEXPIRED LEASES AND EXECUTORY CONTRACTS


             This case came before the court on the Debtor’s Motion for an Order (I) Granting

Expedited Relief, (II) Approving Sale Free and Clear, and (III) Approving the Assumption and

Assignment of Certain Contracts and Leases (“Sale Motion”).1

             Based on the Sale Motion, the arguments of counsel, all the files, records and proceedings

herein, the court being advised in the premises, and for those reasons stated orally and recorded in

open court following the close of evidence:

             IT IS FOUND AND DETERMINED THAT:2

             A.     This court has jurisdiction to hear and determine the Sale Motion pursuant to

28 U.S.C. §§ 157 and 1334 and Local Rule 1070-1.

             B.     Venue of this case (the “Chapter 11 Case”) in this district is proper pursuant to

28 U.S.C. §§ 1408 and 1409(a).



1
      All capitalized terms used but not otherwise defined herein shall have the meanings ascribed
      to them in the Sale Motion or the APA, as applicable.
2
      Findings of fact shall be construed as conclusions of law and conclusions of law shall be
      construed as findings of fact when appropriate. See Bankruptcy Rule 7052.
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        C.     Determination of the Sale Motion is a core proceeding under 28 U.S.C.

§ 157(b)(2)(A) and (N). The statutory predicates for the relief requested herein are sections 105,

363, and 365 of the Bankruptcy Code and Bankruptcy Rules 2002, 6004, 6006, 9007, 9008 and

9014.

        D.     This order (the “Sale Approval Order”) constitutes a final order within the

meaning of 28 U.S.C. § 158(a). Notwithstanding Bankruptcy Rules 6004(h) and 6006(d), and to

any extent necessary under Bankruptcy Rule 9014 and Rule 54(b) of the Federal Rules of Civil

Procedure, as made applicable by Bankruptcy Rule 7054, the court expressly finds that there is

no just reason for delay in the implementation of this Sale Approval Order, and expressly directs

entry of judgment as set forth herein.

        E.     Cause exists to grant expedited relief.

        F.     On February 26, 2021, the Debtor served the Sale Notice [Dkt No. __] as

demonstrated by the certificate of service filed as Dkt. No. __ thereby providing due and proper

notice of the Sale Motion. No other or further notice of the Sale is required.

        G.     On February 26, 2021, the Debtor served the Assumption and Assignment Notice

[Dkt. No. __] as demonstrated by the certificate of service filed as Dkt. No. __ thereby providing

due and proper notice of the intended assumption and assignment executory contracts or

unexpired leases and any Cure Amounts. Adequate notice and opportunity to be heard was

provided to parties to executory contracts and unexpired leases to be assumed and assigned

pursuant to this Sale Approval Order, including to the Cure Amount. No other or further notice

of the assumption and assignment of the Assumed Contracts is required.

        H.     Based upon the foregoing and the certificates of service filed with the court, due,

proper, timely, adequate and sufficient notice of the Sale Motion, the Sale Approval Hearing, the




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sale (the “Sale”) of the Acquired Assets to R.P. Acquisition Corporation (the “Purchaser”)

pursuant to that certain Asset Purchase Agreement dated February __, 2021 (the “APA”), and the

proposed assumption and assignment of the Assumed Contracts has been provided in accordance

with sections 102(1), 363(b) and 365 of the Bankruptcy Code, Bankruptcy Rules 2002, 6004,

6006, 9007, 9008 and 9014 and Local Rules 2002-1, 2002-4, 6004-1, 9013-2 and 9013-3.

        I.    The APA represents a fair and reasonable offer to purchase the Acquired Assets

under the circumstances of this Chapter 11 Case. The Debtor has demonstrated compelling

circumstances, good, sufficient and sound business purposes for the Sale of the Acquired Assets

pursuant to section 363(b) of the Bankruptcy Code. The Sale of the Acquired Assets pursuant to

the APA constitutes a reasonable and sound exercise of the Debtor’s business judgment.

        J.    Upon entry of this Sale Approval Order, the Debtor (i) has full corporate or other

power to execute, deliver and perform its obligations under the APA and all other documents

contemplated thereby or entered into in connection therewith, and the Sale of the Acquired

Assets by the Debtor has been duly and validly authorized by all necessary corporate or similar

action, and (ii) has taken all action necessary to authorize and approve the APA and such other

documents contemplated thereby and the consummation by them of the transactions

contemplated thereby or entered into connection therewith.

        K.    The Debtor is authorized to sell and transfer the Acquired Assets free and clear of

all Liens, Claims, Encumbrances and Interests (as that term is defined in paragraph 8 hereof)

pursuant to the APA because it has satisfied the requirements of section 363(f) of the Bankruptcy

Code.

        L.    Those holders of Liens, Claims, Encumbrances and Interests against the Debtor,

its estate or in respect of any of the Acquired Assets who did not object, or who withdrew their




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objections, to the Sale or the Sale Motion are deemed to have consented to the Sale pursuant to

section 363(f)(2) of the Bankruptcy Code.

       M.      Except for the Assumed Liabilities, the transfer of the Acquired Assets to the

Purchaser, and assumption and assignment to the Purchaser of the Assumed Contracts, will not

subject the Purchaser to any Lien, Claim, Encumbrance and Interest whatsoever with respect to

the operation of the Debtor’s business prior to the Closing Date to the maximum extent provided

by section 363(f) of the Bankruptcy Code.

       N.      The APA was negotiated, proposed and entered into by the parties in good faith,

from arms’ length bargaining positions and without collusion within the meaning of section

363(m) of the Bankruptcy Code. As a result of the foregoing, Debtor and Purchaser are entitled

to the protections of section 363(m) of the Bankruptcy Code with respect to all aspects of the

APA. Purchaser is not an “insider” of Debtor, as that term is defined in section 101(31) of

the Bankruptcy Code. Moreover, none of Purchaser, Debtor, or any other party has engaged in

any conduct that would cause or permit the APA to be avoided under section 363(n) of the

Bankruptcy Code.

       O.      The Debtor has demonstrated that it is an exercise of its sound business judgment

to assume and assign the Assumed Contracts, as described on Schedule 2.1(c) to the APA,

including any amendments or modifications to such Schedule as agreed to by the Debtor and

Purchaser pursuant to the APA, in connection with the consummation of the Sale of Acquired

Assets, and the assumption and assignment of the Assumed Contracts is in the best interests of

the Debtor, its estate, its creditors and its equity holders. Upon the Closing, Purchaser shall be

deemed to have assumed only the Assumed Liabilities. Except with respect to the Assumed

Liabilities, the Closing and the consummation of the transactions contemplated by the APA shall




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not, by reason of such Closing and transactions, subject Purchaser to any liability whatsoever for

claims against Debtor with respect to the operation of the business of Debtor before the Closing

Date.

        P.     All amounts which are required to be paid in connection with the assumption and

assignment of the Assumed Contracts pursuant to the APA are as follows: the Cure Amounts, if

any, set forth in the Assumption and Assignment Notice and due or owing under sections

365(b)(1)(A) and (B) and 365(f)(2)(A) of the Bankruptcy Code shall be paid by the Purchaser,

subject to the terms and conditions of the APA. Counterparties to the Assumed Contracts have

received adequate assurance of future performance under the Assumed Contracts within the

meaning of sections 365(b)(1)(C) and (f)(2)(B) of the Bankruptcy Code. Accordingly, the

Debtor has satisfied the requirements of sections 365(b)(1) and section 365(f)(2) of the

Bankruptcy Code with respect to the Assumed Contracts identified in the APA.

        Q.     In the absence of a stay pending appeal, Purchaser will be acting in good faith

pursuant to Bankruptcy Code § 363(m) in closing the transactions contemplated by the APA at

any time on or after the entry of this Order. The Court being satisfied that (i) no objections have

been raised of a nature that should prevent the immediate entry of this Order, (ii) the APA

contains deadlines with which the parties must comply, and (iii) the transfer of the Acquired

Assets without delay beyond a time selected by the parties will help preserve the value of the

Acquired Assets for Purchaser and Debtor’s estate, the Court finds cause to lift the stays

provided in Bankruptcy Rules 6004(h) and 6006(d).

        IT IS ORDERED:

                                       General Provisions

        1.     The request for expedited relief is granted.




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       2.      The Sale Motion is granted to the extent set forth herein.

       3.      All objections to the Sale Motion or the relief requested therein that have not been

withdrawn, waived, or settled, including all reservations of rights included therein, which are not

otherwise provided for by this Sale Approval Order, are overruled.

       4.      Notice of the Sale Approval Hearing was fair and equitable under the

circumstances and complied in all respects with sections 102(1), 105, 363 and 365 of the

Bankruptcy Code, Bankruptcy Rules 2002, 6004, 6006, 9007, 9008 and 9014 and Local Rules

2002-1, 2002-4, 6004-1, 9013-2 and 9013-3.

                                      Approval of the APA

       5.      The APA and all ancillary documents are approved.

       6.      The Sale of the Acquired Assets to Purchaser pursuant to the APA is authorized

under sections 363 and 365 of the Bankruptcy Code and the entry of the Debtor into the APA is

approved.

       7.      Pursuant to section 363(b) of the Bankruptcy Code, the Debtor is authorized to

execute and to fully perform under the APA, together with all additional instruments and

documents that may be reasonably necessary, and to take all further actions as may be reasonably

requested by the Purchaser for the purpose of transferring any or all of the Acquired Assets and

perform the obligations of the Debtor under the APA, including effectuating amendments to the

APA.

                                Transfer of the Acquired Assets

       8.      Except to the extent set forth in the APA, pursuant to sections 105, 363 and 365 of

the Bankruptcy Code, the Acquired Assets shall be transferred to the Purchaser in accordance

with the APA and such transfer shall constitute a legal, valid, binding, and effective transfer of




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such Acquired Assets and shall vest Purchaser with title to the Acquired Assets, free and clear of

all Liens (as defined in the section 101(37) of the Bankruptcy Code), Claims (as defined in

section 101(5) of the Bankruptcy Code), encumbrances, and other interests to the maximum

extent of section 363(f) of the Bankruptcy Code (the foregoing collectively referred to as “Liens,

Claims, Encumbrances and Interests” herein, provided, however, that throughout this Sale

Approval Order the term “Liens, Claims, Encumbrances and Interests” shall not include

Assumed Liabilities, except as otherwise set forth in the APA).               All Liens, Claims,

Encumbrances and Interests that are released, terminated and discharged as to the Acquired

Assets shall attach to the sale proceeds to the extent applicable with the same validity, force and

effect which they now have as against the Debtor, its estate or the Acquired Assets. The sole and

exclusive right and remedy available to purported creditors, equity holders, including, without

limitation, equity holders of the Debtor, holders of any other Liens, Claims, Encumbrances and

Interests, and parties in interest shall be a right to assert Liens, Claims, Encumbrances and

Interests against the Debtor’s estate.

       9.      All persons and entities are permanently barred from commencing or continuing

any action or other proceeding of any kind against the Acquired Assets or the Purchaser and its

successors or assigns with respect to any Liens, Claims, Encumbrances and Interests arising prior

to the Closing Date. The sole and exclusive right and remedy available to any Person who

asserts any Liens, Claims, Encumbrances and Interests in any way related to the Acquired Assets

arising prior to the date of Closing shall be a right to assert such Liens, Claims, Encumbrances

and Interests against the Debtor’s estate. If the proposed Sale fails to close for any reason, then

Liens, Claims, Encumbrances and Interests shall continue against the Acquired Assets unaffected




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by this Sale Approval Order. As of the Closing, the Purchaser shall have any and all rights,

claims, defenses and offsets held by Debtor and the estate with respect to Assumed Liabilities.

       10.     Except for the Assumed Liabilities as set forth in the APA, the transfer of the

Acquired Assets pursuant to this Sale Approval Order shall not subject the Purchaser to any

liability with respect to any obligations incurred in connection with, or in any way related to the

Acquired Assets, prior to the date of Closing or by reason of such transfer under the laws of the

United States, any state, territory, or possession thereof, or the District of Columbia, based, in

whole or in part, directly or indirectly, on any theory of law or equity, including, without

limitation, any theory of equitable subordination or successor or transferee liability.

              Assumption and Assignment to Purchaser of Assumed Contracts

       11.     Pursuant to sections 105(a) and 365 of the Bankruptcy Code, and subject to and

conditioned upon the Closing of the Sale, the Debtor’s assumption and assignment to the

Purchaser of the Assumed Contracts is approved.

       12.     The Debtor is authorized to execute and deliver to the Purchaser such documents

or other instruments as may be necessary to assign and transfer the Assumed Contracts to the

Purchaser.

       13.     In the event that an Assumed Contract is added to the APA after the date of this

Sale Approval Order, non-debtor parties shall be given fourteen (14) days’ notice of the

proposed assumption and assignment and any Cure Amounts and a right to object thereto.

                          Approval of Transition Services Agreement

       14.     The Debtor’s entry into and performance under the Transition Services

Agreement is approved pursuant to 11 U.S.C. § 363 as a sound exercise of the Debtor’s business

judgment.




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                                      Additional Provisions

       15.      The transaction contemplated by the APA is undertaken by the Purchaser in good

faith, as that term is used in section 363(m) of the Bankruptcy Code, and accordingly, the

Purchaser is a purchaser in good faith of the Acquired Assets and is entitled to all of the

protections afforded by section 363(m) of the Bankruptcy Code.

       16.      The consideration provided by the Purchaser for the Acquired Assets under the

APA (i) shall be deemed to constitute reasonably equivalent value and fair consideration under

the Bankruptcy Code, Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act,

Uniform Voidable Transactions Act, and under the other laws of the United States, any state,

territory, possession or the District of Columbia and (ii) is fair and reasonable and may not be

avoided under section 363(n) or any other provision of the Bankruptcy Code, or otherwise. All

entities presently or on the Closing Date that may be in possession of some or all of the Acquired

Assets are directed to surrender possession of the Acquired Assets to Purchaser on or before the

Closing Date.

       17.      Except as otherwise specifically provided for in this Sale Approval Order and in

the APA, the Purchaser and its employees, officers, directors, advisors, affiliates, owners,

successors and assigns shall have no liability or responsibility for any liability or other obligation

of the Debtor or the estate arising under or related to the Acquired Assets or other assets,

operations, activities, or businesses of Debtor, including but not limited to under any theory of

successor or vicarious liability, antitrust, environmental or labor law, de facto merger or

substantial continuity.

       18.      The transfer of all consumer personally identifiable information, as such term is

defined in section 101 of the Bankruptcy Code (“PII”), from the Debtor to the Purchaser, is




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hereby approved; provided, however, that the Purchaser shall (a) use the PII for the same

purpose(s) as it was used by the Debtor, namely, to sell products and services and provide special

offers and rewards for the Debtor’s customers; (b) comply with the Debtor’s privacy policy (as

may be amended in accordance with applicable law after the Closing); (c) before making any

“material change” to the Debtor’s privacy policy or using or disclosing any PII in a different

manner from that specific in such policy, notify consumers and afford them an opportunity to

opt-out of the changes to those policies or the new uses of their personal information; (d) notify

the Debtor’s customers whose PII the Purchaser is acquiring of the change in ownership and

advise them that the Purchaser will abide by the Debtor’s privacy policy (as may be amended

after the Closing in accordance with applicable law); (e) employ appropriate information security

controls (technical, operational, and managerial) to protect the PII, including strong encryption;

and (f) abide by all applicable federal, state, and international laws, including laws prohibiting

unfair or deceptive practices “UDAP,” data breach notification, data disposal, privacy and

confidentiality of personal information, “do-not-track,” “do-not-call,” and “no spam” laws.

       19.     This Court retains exclusive jurisdiction to (i) interpret, enforce and implement

the terms and provisions of the APA, all amendments thereto, any waivers and consents

thereunder, and each of the agreements executed in connection therewith, (ii) compel delivery of

the Acquired Assets to the Purchaser, (iii) resolve any disputes arising under or related to the

APA and related agreements, except as otherwise provided therein, (iv) enjoin and adjudicate the

assertion of any Liens, Claims, Encumbrances and Interests against the Purchaser or in respect of

the Acquired Assets, and (v) interpret, implement and enforce the provisions of this Sale

Approval Order.




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         20.   As of the Closing, all agreements and all orders of this court entered prior to the

date hereof shall be deemed amended or modified solely to the extent required to permit the

consummation of the transactions contemplated by this Sale Approval Order and the APA.

         21.   The APA and any related agreements, documents or other instruments may be

modified, amended or supplemented by the parties thereto in accordance with the terms thereof

without further order of the court, provided that any such modification, amendment or

supplement is not materially less favorable to the Debtor.       In the event a modification is

materially less favorable to the Debtor, the Debtor shall file and serve a notice of such

modification. If no party-in-interest filed a written objection with the court within five (5)

business days, such modification shall be deemed approved without further order of the court,

but the court may enter any such further order as may be necessary.

         22.   Notwithstanding Fed. R. Bankr. P. 6004(h) and 6006(d), this Sale Approval Order

shall take effect immediately upon entry, and in the absence of any entity obtaining a stay

pending appeal, Debtor and Purchaser are free to close under the APA at any time.

         23.   To the extent that this Sale Approval Order is inconsistent with any prior order or

pleading with respect to the Sale Motion in the Chapter 11 Case, the terms of this Sale Approval

Order shall govern.

Dated:
                                                    William J. Fisher
                                                    United States Bankruptcy Judge


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